Case 3:15-cv-01072-N Document 33 Filed 12/29/16               Page 1 of 1 PageID 198


                             CAUSE NO. 104310-C
                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

BLACKSTONE DEVELOPERS, LLC,                  §
                                             §
       Plaintiff,                            §
                                             §
vs.                                          §   CIVIL ACTION NO. 3:15-cv-01072-N
                                             §
LIBERTY MUTUAL INSURANCE,                    §
                                             §
       Defendant.                            §

      ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE

       On this day came on to be heard the parties’ Joint Motion to Dismiss with

Prejudice. Having considered the Motion, the Court is of the opinion that same should be

GRANTED.

       IT IS, THEREFORE, ORDERED, ADJUDGED and DECREED that all

claims that have been and/or could have been asserted in the above-styled lawsuit by

Plaintiff Blackstone Developers, LLC against Defendant Ohio Security Insurance

Company, improperly served and sued as Liberty Mutual Insurance, are hereby dismissed

with prejudice to the re-filing of same, with costs of Court to be taxed against the party

incurring the same. All relief not expressly granted herein is DENIED.

       SIGNED December 29, 2016.




                                            ___________________________________
                                            DAVID C. GODBEY
                                            UNITED STATES DISTRICT JUDGE




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ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE                     SOLO PAGE
